                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                   No. 05-CR-97-LRR
 vs.
                                                             ORDER
 LARRY WRICE,
                                                        REGARDING HEARING
               Defendant.

                             ____________________________

       Regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the court
shall conduct a hearing. The court shall reserve one hour for the hearing. At the hearing,
appointed counsel shall represent the defendant, who shall participate by telephone. Each
party shall file a list of all witnesses who are expected to be called to testify and a list of
all exhibits that are expected to be offered at least five days prior to the hearing. The
clerk’s office shall be directed to send a copy of this order to the defendant, the office of
the Federal Public Defender, the office of the United States Attorney and the office of
United States Probation.
       IT IS THEREFORE ORDERED:
       (1) The clerk’s office is directed to appoint counsel of record to represent the
       defendant and, if counsel of record is not available, the clerk’s office is directed to
       appoint CJA counsel to represent the defendant.
       (2) A hearing in Courtroom 1, 111 7th Avenue SE, Cedar Rapids, Iowa is
       scheduled to commence at 3:00 p.m. central time on Monday, April 13, 2015.
       One hour is reserved for the hearing. The defendant is directed to participate in the
       hearing via telephone.      Appointed counsel must make arrangements for the
       defendant to call into the hearing. Appointed counsel will be notified via e-mail of


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  the telephone number that the defendant must dial to participate in the hearing. In
  addition, appointed counsel is directed to notify the court of the name of the
  defendant’s counselor and the telephone number where he and the defendant can be
  reached at least five days prior to the hearing.
  (3) Each party is directed to file a list of all witnesses who are expected to be called
  to testify and a list of all exhibits that are expected to be offered at least five days
  prior to the hearing.
  (4) The clerk’s office is directed to send a copy of this order to the defendant, the
  office of the Federal Public Defender, the office of the United States Attorney and
  the office of United States Probation.
  DATED this 23rd day of March, 2015.




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